                                                   Case 1:24-cr-00135-TSC Document 5 Filed 03/08/24 Page 1 of 1


AO 442 (Rev. 11111) Arrest Warrant



                                                                       UNITED STATES DISTRICT COURT
                                                                                                   for the

                                                                                        District   of Columbia


                          United States of America
                                      v.                                                             )   Case: 1:24-mj-000'95
                                                                                                     )   Assigned To : Judge Rohil1J M. eriweather
                                               John Banuelos
                                                                                                     )   Assign. Date: 31112024
                                                                                                     )   Description: COMPLAINT \lV/ARREST WARRANT
                                                                                                     )
                                                                                                     )
                                                           Defendant


                                                                                      ARREST WARRANT
To:        Any authorized law enforcement                                   officer


           YOU ARE COMMANDED                                             to arrest and bring before a United States magistrate judge without unnecessary                   delay
(name of person to be arrested)                                                                               John Banuelos
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        o Superseding Indictment    o Information       o Superseding Information                                                              N Complaint
o Probation Violation Petition    o Supervised Release Violation Petition    o Violation Notice                                                            0 Order of the Court

This offense is briefly described as follows:


 18 U.S.C. § 231 (a)(3) - Obstruction of Law Enforcement During Civil Disorder;
 18 U S.C. § I752(a)( I) and (b)( I)(A) -Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon) ;
 40 U.S.c. § 51 04(e)(1 )(A)(i)- Individual or group of individuals to WilIfuUy and Knowingly carry on or have Readily Accessible to any Individual on the Grounds or
 in any Capitol Buildings, a Fireaml_.
 40 U.S.C. § 5104(e)( I )(A)(ii)- Individual or Group of Individuals to Discbarge a Firearm Dr Explosives,                use a Dangerous Weapon, Dr Ignite an incendiary Device,
 on the Grounds or in any of the Capitol Buildings.,
 40 U.S.c. § 51 04(e)(2) (0)- Disorderly Conduct in a Capitol Building.
                                                                                                                                          2024.03.07
                                                                                                                                          12:40:06 -05'00'
Date: __        --"0""-3,..,,10'-'-7'--"/2"-"0'-"'2'-'-4   __
                                                                                                                                Issuing officer's signature


City and state:                                                 Washin   ton D.C.
                                                                                                                                  Printed name and title


                                                                                                   Return

           This warrant was received on (date)                                  -~-l-.L_JI-iC:..._...jf-- , and   the person was arrested on (date)        ~d.~t.f--+----
 at (city and state)                        $"vWlIVL\             +1 TL
 Date    _3-f14--                                                                                                    ~
                                                                                                                               Arresting officer's signature



                                                                                                             Vuu;"k.. Aj/J:~:a~tdl:pe~4J~c,J
